                    Case 2:19-cr-00877-CCC                                   Document 395                     Filed 02/10/25                    Page 1 of 1 PageID: 4652
   CJA 20 APPOINTMENT OF AND AUTHORITY TO PAY COURT-APPOINTED COUNSEL (Rev. 12/03)
1. CIR./DIST./ DIV. CODE     2. PERSON REPRESENTED                                                                                        VOUCHER NUMBER
                                                                                  JOBADIAH SINCLAIR WEEKS
3. MAG. DKT./DEF. NUMBER                                     4. DIST. DKT./DEF. NUMBER                        5. APPEALS DKT./DEF. NUMBER                        6. OTHER DKT. NUMBER
Click here to enter text.                                          19-CR-877 (CCC)-03
7. IN CASE/MATTER OF (Case Name)                             8. PAYMENT CATEGORY                              9. TYPE PERSON REPRESENTED                         10. REPRESENTATION TYPE
                                                             XFelony                  GPetty Offense          X Adult Defendant            G Appellant               (See Instructions)
                   US v. GOETTSCHE                           GMisdemeanor             GOther                  G Juvenile Defendant        G Appellee G                         CC
                                                             GAppeal                                          Other
11. OFFENSE(S) CHARGED (Cite U.S. Code, Title & Section) If more than one offense, list (up to five) major offenses charged, according to severity of offense.
                   18:1951-Interference Felon in possession of a firearm

12. ATTORNEY’S NAME (First Name, M.I., Last Name, including any suffix),                                      13. COURT ORDER
    AND MAILING ADDRESS                                                                                        G O Appointing Counsel                            G C Co-Counsel
                 ERNESTO CERIMELE                                                                              G F Subs For Federal Defender                     G R Subs For Retained Attorney
                 KLINGEMAN CERIMELE, ATTORNEYS                                                                 G P Subs For Panel Attorney                       X Y Standby Counsel
                 100 SOUTHGATE PARKWAY
                                                                                                              Prior Attorney’s Name:
                 SUITE 150
                                                                                                                  Appointment Dates:
                 MORRISTOWN, NJ 07960
                                                                                                              G Because the above-named person represented has testified under oath or has otherwise
                                                           908-922-9630                                       satisfied this Court that he or she (1) is financially unable to employ counsel and (2) does not
                                                                                                              wish to waive counsel, and because the interests of justice so require, the attorney whose
14. NAME AND MAILING ADDRESS OF LAW FIRM (Only provide per instructions)
                                                                                                              name appears in Item 12 is appointed to represent this person in this case, OR
                                                                                                               G Other (See Instructions)

             Telephone Number :                                                                                  ______________________________________________________________________
                                                                                                                                    Signature of Presiding Judge or By Order of the Court

                                                                                                                                   2/10/2025
                                                                                                                              Date of Order                                Nunc Pro Tunc Date
                                                                                                              Repayment or partial repayment ordered from the person represented for this service at time
                                                                                                              appointment.         G YES       G NO
                                   CLAIM FOR SERVICES AND EXPENSES                                                                                      FOR COURT USE ONLY
                                                                                                                       TOTAL                MATH/TECH.              MATH/TECH.
                                                                                             HOURS                                                                                          ADDITIONAL
                 CATEGORIES (Attach itemization of services with dates)                                               AMOUNT                ADJUSTED                ADJUSTED
                                                                                            CLAIMED                                                                                           REVIEW
                                                                                                                      CLAIMED                 HOURS                  AMOUNT
                 a. Arraignment and/or Plea                                                                                    0.00                                            0.00
                 b. Bail and Detention Hearings                                                                                0.00                                            0.00
                 c. Motion Hearings                                                                                            0.00                                            0.00
                 d. Trial                                                                                                      0.00                                            0.00
  In Court




                 e. Sentencing Hearings                                                                                        0.00                                            0.00
                 f. Revocation Hearings                                                                                        0.00                                            0.00
                 g. Appeals Court                                                                                              0.00                                            0.00
                 h. Other (Specify on additional sheets)                                                                       0.00                                            0.00
                 (RATE PER HOUR = $                                )   TOTALS:                         0.00                    0.00                    0.00                    0.00
                 a. Interviews and Conferences                                                                                 0.00                                            0.00
                 b. Obtaining and reviewing records                                                                            0.00                                            0.00
  Out of Court




                 c. Legal research and brief writing                                                                           0.00                                            0.00
                 d. Travel time                                                                                                0.00                                            0.00
                 e. Investigative and other work (Specify on additional sheets)                                                0.00                                            0.00
                 (RATE PER HOUR = $                                )   TOTALS:                         0.00                    0.00                    0.00                    0.00
17.              Travel Expenses (lodging, parking, meals, mileage, etc.)
18.              Other Expenses (other than expert, transcripts, etc.)
GRAND TOTALS (CLAIMED AND ADJUSTED):                                                                                           0.00                                            0.00
19. CERTIFICATION OF ATTORNEY/PAYEE FOR THE PERIOD OF SERVICE                                                  20. APPOINTMENT TERMINATION DATE                              21. CASE DISPOSITION
                                                                                                                   IF OTHER THAN CASE COMPLETION
          FROM:                                                  TO:
22. CLAIM STATUS                              G Final Payment               G Interim Payment Number                                            G Supplemental Payment
             Have you previously applied to the court for compensation and/or reimbursement for this      G YES       G NO             If yes, were you paid?    G YES G NO
             Other than from the Court, have you, or to your knowledge has anyone else, received payment (compensation or anything of value) from any other source in connection with this
             representation? G YES         G NO             If yes, give details on additional sheets.
             I swear or affirm the truth or correctness of the above statements.
             Signature of Attorney                                                                                                                   Date
                                                                   APPROVED FOR PAYMENT — COURT USE ONLY
23. IN COURT COMP.                               24. OUT OF COURT COMP.            25. TRAVEL EXPENSES                26. OTHER EXPENSES                         27. TOTAL AMT. APPR./CERT.
                                                                                                                                                                 $0.00
28. SIGNATURE OF THE PRESIDING JUDGE                                                                                  DATE                                       28a. JUDGE CODE

29. IN COURT COMP.                               30. OUT OF COURT COMP.            31. TRAVEL EXPENSES                32. OTHER EXPENSES                         33. TOTAL AMT. APPROVED
                                                                                                                                                                 $0.00
34. SIGNATURE OF CHIEF JUDGE, COURT OF APPEALS (OR DELEGATE) Payment approved                                         DATE                                       34a. JUDGE CODE
    in excess of the statutory threshold amount.
